              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL           :
FOUNDATION,                         :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :                 NO. 1:19-CV-00622
                                    :
LEIGH M. CHAPMAN, in her official   :                 JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, and   :                 ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
capacity as Deputy Secretary for    :
Elections and Commissions,          :
                                    :
                  Defendants.       :

 DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION
 TO STRIKE PLAINTIFF’S MOTION FOR ORDER TO SHOW CAUSE

                                 INTRODUCTION

      Without prior notice, Plaintiff The Public Interest Legal Foundation (“PILF”)

filed a motion under Rule 11 seeking imposition of sanctions against Defendants

Leigh M. Chapman, Acting Secretary of the Commonwealth, and Jonathan M.

Marks, Deputy Secretary for Elections and Commissions (hereinafter “the

Department”) because a supplemental production of material had not arrived by the

time PILF filed its motion. ECF 121 at 1-2. PILF’s motion is defective on its face.

PILF’s failure to first serve the motion and then allow 21 days to pass before filing

it with the Court as required by Rule 11(c)(2) is a fatal defect that requires denial of
the motion. Further, PILF’s request for sanctions is groundless. Had PILF sought

the Department’s concurrence as required by Local Rule 7.1, it would have learned

that the Department was preparing a supplemental production for delivery that very

day and that an additional production would be forthcoming.1 PILF’s procedurally

flawed and legally baseless motion for sanctions should be stricken.

RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       Following a good faith but unsuccessful attempt at mediation, on October 6,

2022, the parties jointly moved for an order resetting the briefing deadlines on

various pending and/or anticipated motions. ECF 115. The Court entered an Order

on October 7, 2022 granting the joint request to reset the deadlines. ECF 116.

       As the deadlines approached, the Department concluded that additional time

was needed to assemble and produce supplemental information. The Department

moved on October 20, 2022 for an order extending the briefing schedule to allow

time to make a supplemental production. ECF 117. PILF opposed the request by

the Department to enlarge the Department’s deadlines but requested an extension of

its own deadlines. ECF 118. The Court found that the Department’s election-related

commitments constituted “good cause” to extend all briefing deadlines and granted

the request for an enlargement, specifically requiring that PILF shall file its brief in

opposition to the Department’s motion to alter or amend judgment and the


   1
       The referenced additional production was made on November 22, 2022.

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Department shall file its reply brief in further support of its motion for clarification

and partial reconsideration on or before November 11, 2022. ECF 119. The Court

did not set a deadline for the supplemental production.

      At approximately 4:00 pm on November 11, PILF filed a Motion for Order

To Show Cause Under Federal Rule of Civil Procedure 11 (ECF 121) without

seeking concurrence and without first serving the motion and allowing 21 days to

pass before filing it with the Court as required by Rule 11(c)(2) of the Federal Rules

of Civil Procedure.

      Had PILF conferred with the Department as required, it would have learned

that the Department was preparing the supplemental production for delivery to PILF

that very day. Later on November 11, 2022, the Department made a supplemental

production of information that included (1) a list of the 93 persons who received the

June 12, 2018 letter advising them of the PennDOT software error that allowed non-

citizens to register to vote whose registrations were canceled where the reason for

the cancelation is stated as “not a citizen”; (2) vote history, if any, for the 93 persons

in (1); (3) a list of the 1,363 persons whose voter registrations were canceled between

1993 and 2022 whose voter records state the reason for the cancellation as “not a

citizen”; and (4) vote history, if any, for the 1,363 persons in (3). The Supplemental

Production also advised that the Department was in the process of preparing for

production documents in the Statewide Uniform Registry of Electors (“SURE”)



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database for the canceled registrants and that the material would be produced “as

soon as appropriate redactions are completed.” Suppl. Resp. at 4. (A copy of the

Department’s Supplemental Response (without accompanying records) served on

November 11, 2022 is attached as Exhibit “A.”)

       The undersigned counsel for the Department wrote to counsel for PILF on

November 14, 2022 to request that PILF withdraw the Motion for Order To Show

Cause due to its procedural defects and because a supplemental production was

delivered on November 11, 2022. PILF refused to withdraw the defective filing. (A

copy of the November 14, 2022 email exchange is attached as Exhibit “B.”)2

                                    ARGUMENT

       PILF’ Motion For Order To Show Cause is procedurally defective and lacks

any basis in law or fact. It should be stricken forthwith.

       First, PILF failed to comply with the mandatory procedure in Rule 11. Rule

11(c)(2) directs that a motion for sanctions “must be served under Rule 5, but it must

not be filed or be presented to the court if the challenged paper, claim, defense,

contention, or denial is withdrawn or appropriately corrected within 21 days after

service. . . .” Fed. R. Civ. P. 11(c)(2). “[S]trict compliance” with the safe-harbor

provision is required. See Andresen v. Commonwealth, No. 1: 20-CV-989, 2022 WL

3334495, at *1 (M.D. Pa. June 9, 2022) (“[O]ur court of appeals requires ‘strict


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       PILF has not filed a brief in support of its motion for sanctions.

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compliance’ with Rule 11’s safe-harbor rule in light of the chilling effect of

sanctions.”) (citing In Re Miller, 730 F.3d 198, 204 (3d Cir. 2013) (addressing

Bankruptcy Rule 9011 which the Court noted in footnote 4 is “equivalent” to Rule

11)).3    “ʽ[F]ailure to comply with the procedural requirements precludes the

imposition of the requested sanctions.’” In re Miller, 730 F.3d at 204 (quoting

Brickwood Contractors, Inc. v. Datanet Eng’g, Inc., 369 F.3d 385, 389 (4th Cir.

2004)). PILF provided no notice of its intent to seek sanctions and, for this reason

alone, its motion must be denied. Andresen, 2022 WL 3334495, at *1 (“[I]t would

be contrary to law to impose sanctions upon Andresen absent strict compliance with

the safe-harbor requirement of Rule 11(c)(2).”); Community Ass’n Underwriters of

Am., Inc. v. Queensboro Flooring Corp., No. 3:10-CV-1559, 2014 WL 1516152, *2

(M.D. Pa. Apr. 15, 2014) (“Having failed to comply with the mandatory procedural

requirements of Rule 11, the Defendants are not entitled to an award of sanctions

under Rule 11(c)(2), and their motion must be denied.”) (citations omitted).

         PILF plainly misreads Rule 11 in positing that Rule 11(c)(2) “does not apply”

because its motion sought a rule to show cause rather than “direct sanctions.” Ex.

B. Rule 11 contemplates a show cause order only where the court, on its own

initiative, initiates a sanctions proceeding. Fed. R. Civ. P. 11(c)(3). PILF cannot



   3
      Pursuant to L.R. 7.8(a), the unpublished decisions cited herein are reproduced
in the attached Appendix.

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avoid the mandatory procedure in Rule 11(c)(2) by characterizing its motion as a

request for a show cause order. See Radcliffe v. Rainbow Constr. Co., 254 F.3d 772,

789 (9th Cir. 2001) (rejecting argument that party’s motion for sanctions can be

interpreted as “Rule 11 motion on the court’s own initiative” because “[i]t would

render Rule 11(c)(1)(A)’s ‘safe harbor’ provision meaningless to permit a party’s

noncompliant motion to be converted automatically into a court-initiated motion,

thereby escaping the service requirement”).4 PILF’s proffered rationale for not

complying with Rule 11 confirms that PILF’s non-compliance was intentional, not

due to oversight.

       Second, PILF failed to seek concurrence as required by Local Rule 7.1. Had

PILF sought concurrence as it was required to do, it would have learned that the

supplemental production was forthcoming. PILF is not entitled to be reimbursed for

the costs of filing a defective motion for sanctions that was and is wholly

unnecessary. See Pollution Control Indus. of Am., Inc. v. Van Gundy, 21 F.3d 152,

156 (7th Cir. 1994) (movant is “not entitled to reimbursement for any costs that

could have been avoided by way of a more reasonable approach”); Napier v. Thirty

or More Unidentified Federal Agents, Employees or Officers, 855 F.2d 1080, 1092

(3d Cir. 1988) (movant has “duty to mitigate, using reasonable means” to respond

to alleged violation of Rule 11).


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       Rule 11 has since been renumbered.

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      Third, Rule 11 does not apply here. Rule 11(d) states that “[t]his rule does

not apply to disclosures and discovery requests [and] responses . . . .” Fed. R. Civ.

P. 11(d). Because PILF is challenging the timing of the supplemental disclosure of

information, there is no basis for imposition of sanctions under Rule 11.

      Fourth, and dispositively, PILF has received the supplemental production.

There is no basis in fact or law for imposition of any sanction.

      For these reasons, PILF’s motion is procedurally defective and substantively

without merit and should be stricken. PILF’s failure to follow Rule 11 and Local

Rule 7.1 has unnecessarily burdened the Court and the Department. Rule 11(c)(2)

provides that, “[i]f warranted,” the Court may award “reasonable expenses,

including attorney’s fees” to a party opposing a motion for sanctions. Fed. R. Civ.

P. 11(c)(2). An award of fees is appropriate where, as in this case, the party moving

for sanctions disregarded the requirements of Rule 11 by failing to provide the

required 21-day notice period and failed to withdraw a defective motion after being

informed of Rule 11’s requirements. See, e.g., Bennett v. Prime TV, LLC, No.

1:02CV00611, 2003 WL 21077130, at *2 (M.D.N.C. May 9, 2003). Accordingly,

PILF should be compelled to reimburse the Department for the costs and fees

incurred in responding to its defective and baseless motion.




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                                 CONCLUSION

      For the reasons above, PILF’s motion for sanctions under Rule 11 should be

stricken and PILF should be compelled to reimburse the Department for the

attorney’s fees and expenses incurred in responding to the defective motion.

                                      Respectfully submitted,

                                      /s/ Donna A. Walsh
                                      Daniel T. Brier
                                      Donna A. Walsh
                                      Suzanne P. Conaboy

                                      Counsel for Defendants,
                                      Acting Secretary of the Commonwealth
                                      Leigh M. Chapman and Deputy Secretary
                                      for Elections and Commission Jonathan M.
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Dated: November 22, 2022




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                        CERTIFICATE OF SERVICE

      I, Donna A. Walsh, hereby certify that a true and correct copy of the

foregoing Memorandum of Law in Support of Motion To Strike was served upon

the following counsel of record via the Court’s ECF system on this 22nd day of

November 2022:

                         Kaylan Phillips, Esquire
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                                                   /s/ Donna A. Walsh
                                                   Donna A. Walsh
